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                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION


 Alliance for Hippocratic Medicine, et al.,

                Plaintiffs,

          and

 State of Missouri, et al.,

                Intervenor-Plaintiffs,                 Case No. 2:22-cv-00223-Z

          v.

 U.S. Food and Drug Administration, et
 al.,

                Defendants,

          and

 Danco Laboratories, LLC,

                Intervenor-Defendant.


                 MOTION FOR LEAVE TO AMEND COMPLAINT
         The States of Missouri, Kansas, and Idaho seek to amend their complaint

pursuant to Federal Rules of Civil Procedure 15. The States have not yet amended

their complaint, and there is no prejudice to Defendants because they are in a similar

situation to if the States simply filed a suit anew.

I.       The Court should permit amendment.

         The States seek leave under Rule 15 to amend to provide greater factual

support for the theories earlier presented in the initial complaint. The proposed
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amended complaint challenges the same FDA actions as in the original complaint; it

simply includes additional factual support.      Some paragraphs in the proposed

amended complaint concern facts that postdate that complaint, but the nature of

those facts is similar to facts underlying the original complaint. For example, the

amended complaint discusses August 2024 reporting in the Wall Street Journal about

“pill-packing parties” where out-of-state organizations rely on FDA’s actions to “help

strangers in faraway states circumvent strict laws.” Scott Calvert, The Parties Where

Volunteers Pack Abortion Pills for Red-State Women, Wall Street Journal (Aug. 12,

2024). 1   These allegations are similar to those in the original complaint, which

discussed out-of-state organizations in New York using the “FDA-approved pipeline”

to ship chemical abortion pills into States like Missouri. ECF 151-1 ¶ 288. On August

19, 2024, counsel for the States informed Defendants and Intervenor-Defendants of

their intention to seek leave to amend. They oppose this motion.

       Particularly here, where the States have not yet amended their complaint,

“[t]he court should freely give leave.”       Rule 15(a)(2).   Absent extraordinary

circumstances, each plaintiff is generously afforded a first “opportunity to amend or

supplement the pleadings freely, so that he may state his best case.”         Wicks v.

Mississippi State Empl. Servs., 41 F.3d 991, 997 (5th Cir. 1995). Rule 15 creates a

“liberal amendment policy,” so a motion “should not be denied unless there is ‘undue

delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure

deficiencies by amendments previously allowed [or] undue prejudice to the opposing



1 https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15



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party by virtue of allowance of the amendment.’” United States ex rel. Willard v.

Humana Health Plan of Tex., Inc., 336 F.3d 375, 386 (5th Cir. 2003) (citation omitted).

None of those conditions is present here.

      The filing of this Amended Complaint will not result in prejudice to

Defendants. Defendants’ deadline to answer has been stayed for over a year. See ECF

144. The parties have not conducted discovery, and Defendants have not yet served

their initial disclosures under Federal Rule of Civil Procedure 26(a). This motion is

not filed for purposes of delay, and no scheduling order will be disturbed by the entry

of the Amended Complaint.

                                 Prayer for Relief

      For the reasons stated above, the States request that this Court grant them

leave to file their First Amended Complaint (and exhibits thereto), attached as

Exhibits A–G to this motion.




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Dated: October 11, 2024                     Respectfully submitted,
ANDREW BAILEY                                     RAÚL R. LABRADOR
Missouri Attorney General                         Idaho Attorney General

/s/ Joshua M. Divine                              /s/ Alan Hurst
*Joshua Divine, #69875MO                          **Alan Hurst, #12425ID
Solicitor General                                 Solicitor General
Maria Lanahan, #65956MO                           **Michael Zarian, #12418ID
*Samuel C. Freedlund, #73707MO                    Deputy Solicitor General
Deputy Solicitors General
                                                  Idaho Office of the Attorney General
Office of the Missouri Attorney General           P.O. Box 83720
207 W. High Street                                Boise, Idaho 83720
P.O. Box 899                                      Telephone: (208) 334-2400
Jefferson City, Missouri 65102                    Facsimile: (208) 854-8071
Telephone: (573) 751-8870                         Alan.Hurst@ag.idaho.gov
Facsimile: (573) 751-0774                         Michael.Zarian@ag.idaho.gov
Josh.Divine@ago.mo.gov
Maria.Lanahan@ago.mo.gov                          Counsel for Plaintiff State of Idaho
Samuel.Freedlund@ago.mo.gov

Counsel for Intervenor Plaintiff State of
Missouri

KRIS W. KOBACH
Attorney General of Kansas

/s/ Erin B. Gaide
*Abhishek S. Kambli, #29788KS
Deputy Attorney General
*Erin B. Gaide, #29691KS
Assistant Attorney General

Office of the Attorney General
120 SW 10th Ave., 2nd Floor
Topeka, Kansas 66612-1597
Telephone: (785) 296-7109
Facsimile: (785) 291-3767
Abhishek.Kambli@ag.ks.gov
Erin.Gaide@ag.ks.gov
                                                         *Admitted pro hac vice
Counsel for Plaintiff State of Kansas
                                                  **Pro hac vice application forthcoming




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                             CERTIFICATE OF SERVICE
      I certify that on October 11, 2024, a true and accurate copy of the foregoing

document was filed electronically (via CM/ECF) and served on all counsel of record.

                                                  /s/ Joshua M. Divine
                                                  JOSHUA M. DIVINE




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